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                              EXHIBIT 297
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·"                                                                                       Drug Enforcement Administration




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                                                                                             APR 1 9 ZOU?
                                    Amerlsourcefsergen Drug Corporation
                                    2100 Directors Row
                                    Orlando, Florida 32809



                                                                  ORDER TO SHOW CAUSE AND
                                                            IMMEDIATE SUSPENSION OF REGISTRATION

                                            PURSUANT to Sections 303 and 304 of the Controlled Substances Act, ~:l U.S.C. §§ 823
                                     and 824,

                                                NOTICE is hereby given 10 inforrn Arnerisourcebergen Drug Corporation ("Respondent")
                                     of the immediate suspension of Drug Enforcement Administration (DEA) Certificate of Registration
                                     R.A0210409, pursuant to 21 U,S.C. § 824(d), because such registration constitute, an imminent
                                     danger to the public health and safety. DEA Certificate of Registration RA02 l O,:I 09 is assigned to
                                     Respondent's Orlando Distribution Center. Notice is also given to afford Respondent an
                                     opportunity to show cause before the DEA, at DEA Headquarters, 600 Anny Navy Drive, Arlington,
                                     Virginia, on June 4, 2007 (if Respondent requests such a hearing), as to why DEA should not revoke
                                     iLS registration pursuant to 21 V.S.C. § 824(a)(4), and deny any pending applications for renewal or
                                     modification of such registration pursuant to 21 U .S.C. § 823{ e), because Respondent's continued
                                     registration is inconsistent with the public interest, as that term is defined by 21 U.S.C. §§ 82J(d)
                                     and 824(a)(4). The basis for this Order to Show Cause and Immediate Suspension of Registration is
                                     set forth below:

                                           l. Respondent has failed to maintain effective controls against diversion of particular
                                     controlled substances into other than legitimate medical, scientific and industrial channels, in
                                     violation of 21 U.S.C. § § 823(b)(l) and (e)(l ). from January 1, 2006, through January J L 2007,
                                     Respondent distributed over J. 8 million dosage units of combination hydrocodone products to
                                     customers that it knew or should have known were diverting the hydroccdone into other than
                                     legitimate medical, scientific and industrial channels. Hydrocodone, in the formulation that
                                     Respondent distributed, is a schedule m narcotic controlled substance that is add.ctive and widely
                                     abused.

                                           2. Several of Respondent's largest purchasers ofhydrocodone in 2005 and 2006 were
                                     pharmacies engaged in schemes to dispense controlled substances based on prescriptions that are
                                     issued for other than a legitimate medical purpose and by physicians acting outside the usual course
                                     of professional practice. These pharm acies distributed large amounts of controlled substances based




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                                                                                                                                    A. M. Mitchell

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         on orders placed by customers using various Internet websites. Practitioners then "approved"
         prescriptions for controlled substances and sent them via the Internet or facsimile to the dispensing
         pharmacies. 1n many instances, the prescribing and/or dispensing of controlled sub stances violated
         state laws.

               3. From January 2006 through January 2007, Respondent distributed appro.cirnately 1,006,300
         dosage units of generic and brand name hydrocodone and hydrocodonc combination products to
         Grand Pharmacy (Grand). of New Pore Richey, Florida, under circumstances that clearly indicated
         that Grand was engaged in the diversion of cornrolled substances.

               4. Respondent also supplied generic and brand name hydrocodone and hydrocodone
         combination products under similarly suspicious circumstances to Discount Mail Meds, LLC,
         Medassisi RX, LLC, and Avee Pharmacy, Inc., among others. Respondent distrib rted hydrocodone
         under the following circumstances that should have alerted Respondent that the pl.armacies were
         diverting hydro co done:

                    a. Respondent distributed hydrocodone to each of the named pharmacies. and others. in
         amounts that far exceeded what an average pharmacy orders to meet the lcgit irnate needs of its
         customers. Respondent knew that orders of an unusual size were "suspicious" as that term is med in
         21 C.F.R. § 1301 74(b).

                     b. Respondent distributed hydrocodone TO each of the named pharmacies, and others.
         even though the pharrnacies ordered small amounts of other drug products relative w the
         pharmacies' hydrocodone purchases from the Respondent. Respondent knew orders for large
         amounts of hydroccdone in combination with small amounts of other drug products deviated from
         Lhe normal pattern. of orders placed by pharmacies. Respondent knew that orders I ha; deviate
         substantially from a normal pattern were "suspicious" as that term is used in 21 c.:F,R. § 1301.74(b).

                    c. Respondent distributed hydroccdonc lo each of the named pharmacies, and others,
         even though the pharmacies ordered hydrocodone much more frequently than Respondent's other
         pharmacy customers. Respondent knew that orders of unusual frequency were "suspicious" as that
         term is used in 21 C.F.R. § 1301.74(b).

                      d. Public information regarding several of Respondent's pharmacy customers was
         readily available to Respondent. Had Respondent attempted to learn about these pharmacies prior to
         filling the suspicious orders placed by the pharmacies, Respondent would have known that many of
         the named pharmacies were filling prescriptions that were issued by phys icians acting outside the
         usual course of professional practice in violation of 21 CF.R. § 1306.04. Specificelly, the
         prescriptions filled by the pharmacies were issued by physicians who did not conduct a medical
         examination of the customers, but rather wrote prescriptions for controlled substances that were
         ordered by customers over the Internet

              5. On August 10, 2005. DEA personnel met with Steve Mays. Respondent's Director of
         Regulatory Affairs, to inform hirr, about the common character.sties of pharmacies that divert large
         amounts of controlled subs lances by filling. invalid prescriptions obtained by custo: ners using the




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          Internet. DEA personnel reminded Respondent that, under 21 U,S.C. §§ 82.}(b)(l) and (c)(l ).
          Respondent was responsible lo prevent the diversion of controlled substances. Notwithstanding the
          information provided to Respondent, after the August l 0, 2005 meeting, Respondent sold over 5.2
          million dosage units ofhydrocodone to pharmacies that bore the characteristics th.n DEA described
          in the August rn, 2005 meeting. Respondent continuer! to sell controlled substances to Grand,
          Discount Mail Meds, and Medass ist even though Respondent knew, or should have known, that
          these pharmacies were diverting controlled substances into other than legk irnatc medical, scientific
          and industrial channels. In January 2007. Respondent sold approximately 287 .70(1 dosage units of
          hydrocodone to Med assist, 184,200 dosage units IO Discount Mail Meds, and 128,000 dosage units
          to Grund. In February 2007, Respondent sold approximately 196, l 00 dosage units of hydrocodone
          to Medassist and 172,100 dosage units to Discount Mail Meds. Respondent continues to sell
          controlled substances to Discount Mail Meds.

                 IN view of the foregoing, and pursuant to 21 U.S.C. §§ 823(b), S23(e) and 8'.24(a)(4), it is my
          preliminary finding that Respondent has failed to maintain effective controls against diversion and
          that the continued registration of Respondent would be inconsistent with the public health and
          safety. Moreover, it is my preliminary conclusion that Respondent's continued registration while
          these proceedings arc pending would constitute an imminent danger to the public health and safety
          because of the substantial likelihood that Respondent will continue to supply pharmacies that divert
          large quantities of controlled substances. Accordingly, pursuant to the provlsions of 21 U.S.C.
          § S24(d) and 21 C.FR. § 1301.36(e), and the authority granted me under 28 C.F.R. § 0.100, DEA
          Certificate of Registration RA0210409 is hereby suspended, effective immediately; such suspension
          sha II remain in effect until a fma.i determination is reached in these proceedings.

                PURSUANT to 21 U.S.C. § 824(f) and 21 C.F.R. § 1301.36(f), the Special /Lgcnts and
          Divers ion Investig atcrs of the DEA who serve this Order to Show Cause and Immediate Sus pens ion
          of Registration arc authorized to place under seal and/or to remove for safekeeping all controlled
          substances that Respondent possesses pursuant to its rcguarnrio11, which 1 have herein suspended.
          The said Agents and Investigators are also directed to take into their possession Respondcnts DEA
          Certificate of Registration and any unused order forms.

                THE following procedures arc available 10 Respondent in this matter:

                 I. Within 30 days after the date of receipt of this Order to Show Cause and Immediate
          Suspension, Respondent may file with the Deputy Administrator of the DEA a written request for a
          hearing in the formsetforthi.n21 C.F.R. § 1316.47 See21 C.F.R. § 1301.43(a). If Respondent
          fails to file such a request, the hearing set for June 4, 2007, sh."J.11 be terminated in accordance with
          paragraph 3, below.

                2. Within 30 days after the date of receipt of this Order to Show Cause and Immediate
          Suspension of Registration, Respondent may file with the Deputy Administrator a waiver of hearing.
          together with a written statement regarding Respondent's position on 1:1e matters     or
                                                                                              fact and law
          involved, Scee 21 C.F.R. §1301.43(c).

                3   Should Respondent decline to file a request for a hearing or. should Re spo ndent request a




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            hearing and then fail to appear at the designated hearing, Respondent shall be deemed to have
            waived the hearing and the Deputy Administrator may cancel such hearing, and may enter her final
            order in this matter without a hearing and based upon the investigative file and the record of this
            proceeding as it may then appear. See 21 C.F.R. §§ I301.43(d), 1301.43(e).

                 Correspondence concerning this matter, including the requests referenced in paragraph l and 2
            above, should he addressed ro the Hearing Clerk, Office of Administrative Law Judges, Drug
            Enforcement Adrninistr at.ion, Washington, D.C. 20537. Matters are deemed filed upon receipt by
            the Hearing Clerk. See 21 C.F.R. § 1316.




                                                             Deputy Administrator




            cc: Hearing Clerk
            Office of Administrative Law Judges




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                                            REQUEST FOi{ HEARING

                  Any person desiring a hearing with respect to an Order to Show Cause must, within thirty
          (30) days from receipt of the Order to Show Cause, file a request for a hearing in the fellowing
          format:

                                                                        [DATEJ

          Hearing Clerk
          Office of the Administrative Law Judges
          Drug Enforcement Administration
          Washington, D.C. 20537

           Dear Madam:

          The undersigned, [Name of person], hereby requests a hearing in the matter of [1 dentification of
          the proceeding).

                         (A) [State with particularity the interest of the person in the procceding.]

                          (B) [State with particularity the objections or issues, if any concerning which the
                              person desires to be heard.]

                          (C) [State briefly the position of the person with regard to the particular
                              objections or issues.]

                          (D) [Name (either registrant, applicant, or attorney), address (incuding street
                              address, city, slate and zip code), and telephone number (ind uding area
                              code) of person to whom all subsequent notices or mailings in this proceeding
                              should be sent.]

                                                                 Respectfully yoUI'.5,

                                                                 [Signature: of registrant,
                                                                 applicant, or attorney)

           Note: Pursuant to 21 CFR l 316.4 7(b), the Administrative Law Judge, upon request and
           showing of good cause, may grant a reasonable extension of time allowing for response to an
           Order to Show Cause.




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